            Case 2:06-cr-00280-RSM              Document 41   Filed 08/25/06     Page 1 of 2



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 5                             UNITED STATES DISTRICT COURT
                         for the WESTERN DISTRICT of WASHINGTON
 6

 7    UNITED STATES of AMERICA,                        )
                                                       )
 8                                 Plaintiff,          )
 9                          vs.                        )
                                                       )              CR06-280 TSZ
10
      HARRY SKEINS, JR.,                               )
11                                                     )
                                   Defendant.          )   MINUTE ORDER DENYING
12                                                         MOTION FOR WAIVER OF
                                                             ARRAIGNMENT
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14
            The following Minute Order is made at the direction of the Court, the Honorable
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     James P. Donohue, United States Magistrate Judge:
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17
            The defendant filed a Waiver of Arraignment (dkt #34) on August 21, 2006. As the
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     defendant had not appeared on the charges, the waiver request was denied by Minute Order
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     (dkt #35), and the defendant directed to appear as scheduled for arraignment on August 25, 2006.
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     The defendant filed a Motion to Waive Arraignment (under seal) (dkt #37) subsequent to the
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     filing of the Minute Order.
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            Neither the defendant nor counsel appeared for arraignment as directed. The Court has
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     reviewed the motion (dkt #37) which should be considered a motion for reconsideration. The
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     motion is DENIED. The policy of this Court has been and remains that a defendant is to be
25

26   MINUTE ORDER
            Case 2:06-cr-00280-RSM            Document 41        Filed 08/25/06      Page 2 of 2



 1   present for his initial arraignment. If a superceding indictment is filed, a waiver of presence may

 2   be appropriate. That is not the case here.

 3          IT IS HEREBY ORDERED AND DIRECTED that the defendant, Harry Skeins, Jr., and

 4   his counsel appear before this Court on Thursday, August 31, 2006, at 9:00am, in Courtroom

 5   12B, U.S. Courthouse, Seattle, Washington, for purposes of arraignment.

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 9                                         DATED this 25th day of August, 2006

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12                                         /S/ PETER H. VOELKER
                                           Peter H. Voelker, Deputy Clerk
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26   MINUTE ORDER
